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                                 U.S. District Court
                       Middle District of Florida (Jacksonville)
                CIVIL DOCKET FOR CASE #: 3:20-cv-00346-BJD-MCR
                                 Internal Use Only


Giancaspro v. Novartis Pharmaceuticals Corporation        Date Filed: 04/06/2020
Assigned to: Judge Brian J. Davis                         Jury Demand: Both
Referred to: Magistrate Judge Monte C. Richardson         Nature of Suit: 367 Personal Injury:
Cause: 28:1332 Diversity-Product Liability                Health Care/Pharmaceutical Personal
                                                          Injury Product Liability
                                                          Jurisdiction: Diversity
Plaintiff
Jeffrey Giancaspro                          represented by Raymond C. Silverman
                                                           Parker Waichman LLP
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V.
Defendant
Novartis Pharmaceuticals                    represented by Jacqueline A.R. Root
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                                                           Kathryn L. Hood
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                                                              PRO HAC VICE
                                                              ATTORNEY TO BE NOTICED


 Date Filed        #      Docket Text
 04/06/2020            1 COMPLAINT against Novartis Pharmaceuticals Corporation with Jury
                         Demand (Filing fee $ 400 receipt number 113A-16670425) filed by Jeffrey
                         Giancaspro. (Attachments: # 1 Civil Cover Sheet, # 2 Proposed Summons)
                         (Albites, Francisco) (Entered: 04/06/2020)
 04/06/2020            2 NEW CASE ASSIGNED to Judge Brian J. Davis and Magistrate Judge
                         Monte C. Richardson. New case number: 3:20-cv-346-J-39MCR. (SJB)
                         (Entered: 04/06/2020)
 04/07/2020            3 SUMMONS issued as to Novartis Pharmaceuticals Corporation. (AEJ)
                         (Entered: 04/07/2020)
 04/15/2020            4 NOTICE of designation under Local Rule 3.05 - track 2. Signed by
                         Deputy Clerk on 4/15/2020. (Attachments: # 1 Case Management Report
                         Form, # 2 Consent Letter and Form)(CKS) (Entered: 04/15/2020)
 04/29/2020            5 ANSWER and affirmative defenses to 1 Complaint with Jury Demand by
                         Novartis Pharmaceuticals Corporation.(Thomas, Michael) (Entered:
                         04/29/2020)
 04/29/2020            6 CORPORATE Disclosure Statement by Novartis Pharmaceuticals
                         Corporation identifying Corporate Parent Novartis Finance Corporation, a
                         New York corporation, Corporate Parent Novartis Corporation, a New York
                         corporation, Corporate Parent Novartis Holding, AG, a Swiss company,
                         Corporate Parent Novartis AG, a Swiss Company, whose American
                         Depository Shares are publicly traded on the New York Stock Exchange for
                         Novartis Pharmaceuticals Corporation.. (Thomas, Michael) (Entered:
                         04/29/2020)
 05/22/2020            7 CERTIFICATE of interested persons and corporate disclosure statement by
                         Novartis Pharmaceuticals Corporation identifying Corporate Parent Novartis
                         Finance Corporation, a New York corporation, Corporate Parent Novartis
                         Corporation, a New York corporation, Corporate Parent Novartis Holding,
                         AG, a Swiss company, Corporate Parent Novartis AG, a Swiss Company,
                         whose American Depository Shares are publicly traded on the New York
                         Stock Exchange for Novartis Pharmaceuticals Corporation.. (Thomas,
                         Michael) (Entered: 05/22/2020)
 06/03/2020            8 MOTION for Raymond C. Silverman to appear pro hac vice, Special
                         Admission fee paid, Receipt No. 113A-16886928 for $150 by Jeffrey
                         Giancaspro. (Albites, Francisco) Motions referred to Magistrate Judge Monte
                         C. Richardson. (Entered: 06/03/2020)
 06/04/2020            9 MOTION for Andrew L. Reissaus to appear pro hac vice, Special Admission
                         fee paid, Receipt No. 113A-16891611 for $150 by Novartis Pharmaceuticals
                         Corporation. (Attachments: # 1 Affidavit Special Admission Certificate)
                         (Thomas, Michael) Motions referred to Magistrate Judge Monte C.




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                        Richardson. (Entered: 06/04/2020)
 06/04/2020        10 MOTION for Donald R. McMinn to appear pro hac vice, Special Admission
                      fee paid, Receipt No. 113A-16891677 for $150 by Novartis Pharmaceuticals
                      Corporation. (Attachments: # 1 Affidavit Special Admission Certificate)
                      (Thomas, Michael) Motions referred to Magistrate Judge Monte C.
                      Richardson. (Entered: 06/04/2020)
 06/04/2020        11 MOTION for Robert E. Johnston to appear pro hac vice, Special Admission
                      fee paid, Receipt No. 113A-16891696 for $150 by Novartis Pharmaceuticals
                      Corporation. (Attachments: # 1 Affidavit Special Admission Certificate)
                      (Thomas, Michael) Motions referred to Magistrate Judge Monte C.
                      Richardson. (Entered: 06/04/2020)
 06/05/2020        12 ENDORSED ORDER granting 8 Motion to Appear Pro Hac Vice;
                      granting 9 Motion to Appear Pro Hac Vice; granting 10 Motion to
                      Appear Pro Hac Vice; granting 11 Motion to Appear Pro Hac Vice. If
                      Attorneys Silverman, Reissaus, McMinn, and Johnston have not already
                      done so, they shall immediately register for a login and password for
                      electronic filing at the Court's website at www.flmd.uscourts.gov. Signed
                      by Magistrate Judge Monte C. Richardson on 6/5/2020. (MM) (Entered:
                      06/05/2020)
 06/08/2020        13 CASE MANAGEMENT REPORT. (Attachments: # 1 Exhibit
                      Confidentiality Agreement, # 2 Exhibit Proposed Order)(Albites, Francisco)
                      (Entered: 06/08/2020)




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